
PER CURIAM.
We have for review the decision in State v. Wise, 744 So.2d 1035 (Fla. 4th DCA 1999), which the district court certified to be in conflict with the opinion of the Third District in McKnight v. State, 727 So.2d 314 (Fla. 3d DCA 1999), in which the Third District had, in turn, certified conflict with State v. Cotton, 728 So.2d 251 (Fla. 2d DCA 1998). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We recently quashed the Second District’s decision in Cotton, and approved the First District’s decision in Woods v. State, 740 So.2d 20 (Fla. 1st DCA 1999), holding that the Prison Releasee Reoffender Act, as properly interpreted by the First District, does not violate separation of powers, and rejecting other constitutional challenges to the Act. See State v. Cotton, Nos. SC94996 &amp; SC95281, — So.2d -, 2000 WL 766521 (Fla. June 15, 2000). Accordingly, for -the reasons expressed in Cotton, we quash the Fourth District’s decision in this case, and remand for further proceedings consistent with our opinion in Cotton. Because it appears that the respondent entered a plea of guilty with the understanding that respondent, upon such plea, would not be sentenced pursuant to the Act, upon remand to the trial court, respondent shall have the right to withdraw his guilty plea.
It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
QUINCE, J., dissents with an opinion.
